






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00499-CR






Thomas Hanna, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY


NO. 9030820, HONORABLE MIKE DENTON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Thomas Hanna seeks to appeal from a judgment of conviction for assault with family
violence. (1)  Sentence was imposed on March 11, 2004.  There was no motion for new trial.  The
deadline for perfecting appeal was therefore April 12, 2004.  Tex. R. App. P. 26.2(a)(1).  Notice of
appeal was filed on May 25, 2004.  Under the circumstances, we lack jurisdiction to dispose of the
purported appeal in any manner other than by dismissing it for want of jurisdiction.  See Slaton v.
State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim.
App. 1996).


The appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   September 30, 2004

Do Not Publish
1.        The cause was tried in the county court at law pursuant to government code section 25.2292. 
Tex. Gov't Code Ann. § 25.2292(c) (West 2004).  


